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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:18-cv-00715-RGK-JC Date May 03, 2019

 

 

Title Lubby Holdings LLC et al. v. Henry Chung et al.

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Defendant Henry Chung’s Brief re:

Damages Disclosure and Sanctions (DE 49); Plaintiff Lubby Holdings,
LLC.’s Requested Brief Regarding Plaintiffs’ Request for Rule 37
Sanctions Against Defendants for Listing Undisclosed Documents as
Exhibits for Trial (DE 50)

The Court has read and considered both parties’ briefs. Plaintiffs are ordered to serve the
Defendants and the Court their computation of damages by Monday, May 6", 2018 at 10 a.m. Failure to
do so will result in possible sanctions under Federal Rule of Civil Procedure (“Rule”) 37. The Court
denies Plaintiffs’ request for Rule 37 sections against Defendants.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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